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                     EXHIBIT A
                          Case 24-12410                            Doc 14                  Filed 08/26/24 Entered 08/26/24 14:19:07                                                                                Desc Main
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Period                        P08 2024    P09 2024    P09 2024    P09 2024    P09 2024    P09 2024    P10 2024    P10 2024    P10 2024    P10 2024    P11 2024    P11 2024    P11 2024    P11 2024    P12 2024    P12 2024    P12 2024    P12 2024    P12 2024
Week                        2024 P08 W4 2024 P09 W1 2024 P09 W2 2024 P09 W3 2024 P09 W4 2024 P09 W5 2024 P10 W1 2024 P10 W2 2024 P10 W3 2024 P10 W4 2024 P11 W1 2024 P11 W2 2024 P11 W3 2024 P11 W4 2024 P12 W1 2024 P12 W2 2024 P12 W3 2024 P12 W4 2024 P12 W5
Calendar Start Date          8/19/2024   8/26/2024    9/2/2024    9/9/2024   9/16/2024   9/23/2024   9/30/2024   10/7/2024   10/14/2024 10/21/2024 10/28/2024    11/4/2024   11/11/2024 11/18/2024 11/25/2024    12/2/2024   12/9/2024   12/16/2024 12/23/2024
Beginning Bank Balance       336,106        267,049     112,649    224,642     161,697     421,530     349,233     555,514     417,526     642,071     371,674      471,703      64,278     292,767       8,364      59,026    (306,838)    (70,936)   (302,703)

Stores Selling                         19         19         19          19          19          19          19          19          19          19          19          19          19          19          19          19          19          19          19

Net Sales                      457,640      477,563     438,957    506,813     549,374     549,328     494,064     506,580     525,608     504,495      497,043     491,595     503,933     446,259     302,743     467,983     452,885     311,857     170,769
SSS vs PY                        (7.0%)        0.0%        0.0%       0.0%        0.0%        0.0%        0.0%        0.0%        0.0%        0.0%         0.0%        0.0%        0.0%      100.0%      (33.0%)       0.0%        0.0%        0.0%        0.0%

Other Rev/Discounts              4,576        4,776       4,390      5,068       5,494       5,493       4,941       5,066       5,256       5,045        4,970       4,916       5,039       4,463       3,027       4,680       4,529       3,119       1,708
Total Revenue                  462,217      482,339     443,346    511,881     554,868     554,822     499,005     511,646     530,864     509,540      502,014     496,511     508,972     450,722     305,770     472,663     457,414     314,975     172,477

Food Cost                      105,286      111,136      99,770    104,113      95,697     110,490     119,769     119,759     107,710     110,439     114,587      109,984     108,360     107,172     109,862      97,289      66,001     102,025      98,733
% of Net Sales                   21.8%        21.8%       21.8%      21.8%       21.8%       21.8%       21.8%       21.8%       21.8%       21.8%       21.8%        21.8%       21.8%       21.8%       21.8%       21.8%       21.8%       21.8%       21.8%

Paper Cost                      18,608       19,642      17,633     18,401      16,913      19,528      21,168      21,166      19,037      19,519       20,252      19,438      19,151      18,941      19,417      17,195      11,665      18,032      17,450
% of Net Sales                    3.9%         3.9%        3.9%       3.9%        3.9%        3.9%        3.9%        3.9%        3.9%        3.9%         3.9%        3.9%        3.9%        3.9%        3.9%        3.9%        3.9%        3.9%        3.9%

Total COGS                     123,894      130,778     117,403    122,514     112,610     130,018     140,936     140,924     126,747     129,958      134,839     129,423     127,511     126,114     129,279     114,483      77,665     120,056     116,183
% of Net Sales                   25.7%        25.7%       25.7%      25.7%       25.7%       25.7%       25.7%       25.7%       25.7%       25.7%        25.7%       25.7%       25.7%       25.7%       25.7%       25.7%       25.7%       25.7%       25.7%

Hourly Labor Expense                        170,991                161,995                 186,681                 184,420                 182,439                  177,022                 175,960                 132,386                 162,763
% of Net Sales                                17.5%                  17.5%                   17.5%                   17.5%                   17.5%                    17.5%                   17.5%                   17.5%                   17.5%

Salaried Labor Expense                       65,000                 65,000                  65,000                  65,000                  65,000                   65,000                  65,000                  65,000                  65,000
Other Labor Expense                    0          0           0          0            0          0            0          0            0          0            0           0           0           0           0           0           0           0           0
GM Bonus Paid                                                                                                       25,000                  20,000                   25,000                                          25,000

Variable OpEx                   59,493       62,083      57,064     60,818      65,925      65,919      59,288      60,790      63,073      60,539       59,645      58,991      60,472      53,551      36,329      56,158      54,346      37,423      20,492
% of Net Sales                  13.00%       13.00%      13.00%     12.00%      12.00%      12.00%      12.00%      12.00%      12.00%      12.00%       12.00%      12.00%      12.00%      12.00%      12.00%      12.00%      12.00%      12.00%      12.00%

Fixed OpEx                      50,371       50,371      50,371     45,000      45,000      45,000      45,000      45,000      45,000      45,000       45,000      45,000      45,000      45,000      45,000      45,000      45,000      45,000      45,000

Occupancy                                                                                                                                                           275,000                                         275,000
Restaurant Cash Flow           228,458         3,116    218,508     56,555     331,333      62,203     253,781       (9,488)   296,044        6,603    262,529     (278,925)    275,989     (14,903)     95,162    (240,364)    280,402    (115,267)     (9,199)


Personnel
Kitchen Crew                                 72,000                 72,000                  72,000                  72,000                  72,000                   72,000                  72,000                  72,000                  72,000
TD Bonus                                                                                                             9,000                   7,500                    9,000                                           9,000
KC Bonus
Other Labor Expense               2,000

Marketing                         8,208        8,208      8,208       6,000       6,000       6,000       6,000       6,000       6,000       6,000       6,000       6,000       6,000       6,000       3,000       3,000       3,000       3,000       3,000
Other G&A                        50,000       50,000     50,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000      40,000
G&A Cash Flow                   (60,208)    (130,208)   (58,208)   (118,000)    (46,000)   (118,000)    (46,000)   (127,000)    (46,000)   (125,500)    (46,000)   (127,000)    (46,000)   (118,000)    (43,000)   (124,000)    (43,000)   (115,000)    (43,000)

Restaurant CapEx                  7,308        7,308      7,308       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500       1,500
Technology CapEx                      0            0          0           0           0           0           0           0           0           0           0           0           0           0           0           0           0           0           0
CapEx Cash Flow                  (7,308)      (7,308)    (7,308)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)     (1,500)

Net Recurring Cash Flow        160,943      (134,400)   152,993     (62,945)   283,833      (57,297)   206,281     (137,988)   248,544     (120,397)   215,029     (407,425)    228,489    (134,403)     50,662    (365,864)    235,902    (231,767)    (53,699)


Deferred Payroll Tax
Insurance Installment                                                           (24,000)                                        (24,000)
Other/Unexplained
Total Operating Cash Flow      160,943      (134,400)   152,993     (62,945)   259,833      (57,297)   206,281     (137,988)   224,544     (120,397)    215,029    (407,425)    228,489    (134,403)     50,662    (365,864)    235,902    (231,767)    (53,699)

Other Items
Bridge Loan Proceeds
Eqipment Salvage
Sysco New Cust. Incentive
Legal                           (40,000)                                                                                                                (50,000)
Banker Costs                    (15,000)                                                    (15,000)                                                    (15,000)
Financial Advisor               (40,000)                                                                                                                (50,000)
Sales Tax                      (135,000)     (20,000)   (11,000)                                                                           (150,000)                                       (150,000)
Utility Deposit                                         (30,000)

Total Cashflow                  (69,057)    (154,400)   111,993     (62,945)   259,833      (72,297)   206,281     (137,988)   224,544     (270,397)    100,029    (407,425)    228,489    (284,403)     50,662    (365,864)    235,902    (231,767)    (53,699)
